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                   Exhibit E
7/15/2021                                                      Mall - John White - Outlook
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       follow up on separation

       J Boshea <jlboshea@outlook.com>
       Mon 3/16/2020 12:42 PM
       To: Erin Songer <Esonger@compassmarketinginc.net>
       Cc: John White <jwhite@compassmarketinginc.net>; Julie Boshea <Julie@naglelawfirm.com>

       @I 4 attachments (436 KB)
       doc20200313165414[194].pdf; doc20200313165422[195].pdf; doc20200313165428[196].pdf; doc20200313165435[197].pdf;


       Hi Erin,
       Hope your well. Haven't heard back from you and we have not received anything. Please keep us posted. Thank
       You.
       Best
       Dave

       Erin,
       Hope your well. In follow up I wanted to follow up on my Compass exit payments:

            •   Accrued vacation minimum 6 weeks$ 22,500 minimum
            •   Accrued Personal Days .... 10 Days $7,500
            •   Severance 2 weeks $7,500
            •   Expenses owed $11,500
            •   Payment through last day of employment $2,250

            • Misc Payments : My exit plan agreement with John White $540,000 earned after 3 years of service ( John
              White has agreement), John White (9-16-2015) committed to me back pay from salary reduction of 10-
              15-2015 in amount of $95,000 YTD.

       Due to the suddensence of my termination please pay these funds direct deposit 3/16/2020. Thank You .
       Best,
       Dave



       Sent from Mail for Windows 10




                                                               CM 0121                                            CM 0121
https://outlook.offlce365.com/mall/inbox/ld/AAQkADkwMTliNzVkLWlzNWltNDU0MC05ZmQ1 LThjZjUwNzdiNjcyMQAQAONwxqDZCZXOi8eMF4KTn6o...   1/1
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